          Case 1:20-cr-00063-PGG Document 47 Filed 01/11/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

             -against-
                                                                  ORDER
JOSE BRITO,
                                                              20 Cr. 63 (PGG)
                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               With Defendant’s consent, his January 13, 2021 sentencing will proceed by

telephone. The parties are directed to dial 888-363-4749 to participate, and to enter the access

code 6212642. The press and public may obtain access to the telephone hearing by dialing the

same number and using the same access code. The Court is holding multiple telephone hearings

on this date. The parties should call in at the scheduled time and wait on the line for their case to

be called. At that time, the Court will un-mute the parties’ lines. Two days before the

conference, the parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the hearing so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       January 11, 2021
